Case 1:19-cr-00591-AT Document 37 Filed 10/02/20 Rage kak
DOCUMENT

ELECTRONICALLY FILED

MORVILLO ABRAMOWITZ GRAND IASON & Arf DOC# —
DATE FILED: 10/2/2020 _

 

 

ELKAN ABRAMOWITZ 565 FIFTH AVENUE euunoee
RICHARD F. ALBERT NEW YORK. NEW YORK IOOI7 JASMINE JUTEAU
ROBERT J. ANELLO* CURTIS 8. LEITNER
LAWRENCE S. BADER (212) 856-9600 DANIEL F. WACHTELL
BENJAMIN S. FISCHER FAX: l2l2) B56-9494
CATHERINE M. FOTI ROBERT G. MORVILLO
1938-2011
PAU EXGRAND law.com MICHAEL C. SILBERBERG
CHRISTOPHER B. HARWOOD Www. mag : 0

1940-2002

JOHN J. TIGUE, JR
1999-z2009

LAWRENCE IASON
BRIAN A, JACOBS

 

TELEWACHUS P{KASULIS WRITER’S CONTACT INFORMATION

JUDITH L. MOGUL tkasulis@maglaw.com *ALSO ADMITTED IN WASHINGTON, 0.¢
JOD! MISHER PEIKIN **ALSO ADMITTED IN CONNECTICUT
ROBERT M. RADICK* (212) 880-9555

JONATHAN S. SACK**
EDWARD M, SPIRO

JEREMY H. TEMKIN September 30, 2020

RICHARD D. WEINBERG

VIA ECF

Hon. Analisa Torres

United States District Judge
United States District Court
Southern District of New York
New York, New York 10007

Re: United States v. Glenn Blicht,
19 Cr. 591 (AT)

Dear Judge Torres:

We represent Glenn Blicht in the above-captioned matter and write to ask the Court to
order the return of Mr. Blicht’s passport to his wife, Sloane Levy.

Mr. Blicht was arrested on July 26, 2019 and released on bail that same day. Asa
condition of his release, Pretrial Services has kept his passport since that time. Mr. Blicht pled
guilty and was sentenced by the Court on February 12, 2020. Mr. Blicht began serving his term
of imprisonment on September 14, 2020.

Ms. Levy has a receipt for Mr. Blicht’s passport but Pretrial Services will not release it
without an order from the Court. We ask that the Court issue an order allowing Pretrial Services
to release the passport to Ms. Levy.

Thank you for your consideration of this request.

Respectfully submitted,

 

GRANTED.
SO ORDERED. C=
Dated: October 2, 2020

New York, New York ANALISA TORRES

United States District Judge
